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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRJCT OF UTAH

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CENTRAL DIVISION

WORLD WIDE ASSOCIATION OF
SPECIALTY PROGRAMS AND SCHOOLS,

Plaintiffs,

ORDER
vs.
Case No. 2:04CV-0107DAK

THOMAS G. HOULAHAN,

Defendant.

 

 

This matter is before the court on Defendant’s Motions to Dismiss for Lack of Personal
Jurisdiction and Improper Venue. The motion has been fully briefed by the parties and this court
has determined that oral arguments Would not significantly aid the determination of the motion.
Aiter carefully considering the pleadings, memoranda, and other materials submitted by the
parties and the law and facts relating to this matter, the court renders the following Order.

BACKGROUND

Plaintiff is an association of specialty schools for troubled teenagers Plaintiff is a Utah
corporation With its principal place of business in St. George, Utah. The member schools Within
Plaintift’s association are located throughout the United States and in certain foreign countries
Defendant is a resident of the District of Colurnbia. Defendant is a reporter for the United Press

International (“UPI”) Who researched and investigated Plaintift’s organization for several

months

 

 

 

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Plaintiff sued Defendant for statements he made about the association to parents,
students, attorneys, and government entities during his investigation Plaintiff’ s Complaint
alleges causes of action for intentionai interference with prospective economic advantage,
injurious falsehood, and defamation Specifically, Plaintiff alleges that in July 2003, Defendant
contacted L.B., whose son was enrolled at a member school Ivy Ridge located in Ogdensburg,
New York and then transferred to another member school in Tranquility Bay in Jamaica, and
claimed that L.B’s son had been physically abused at Ivy Ridge and was transferred to
Tranquility Bay to facilitate further abuse

Plaintiff also alleges that Defendant contacted C.M. and his eX-wife, whose daughter was
enrolled at a member school in Ensenada, Mexico, and told them that they should remove their
daughter immediately because she was being abused by the staff. The contact with C.M. was
apparently in Alaska and the contact with C.M.’s ex-wife was in North Carolina. Once C.M.’s
daughter was removed from the school, Defendant aiso apparently contacted her in North
Carolina on several occasions. Plaintiff alleges that Defendant defamed it and its member
schools to C.M.’s daughter as weli.

Plaintiff further alleges that Defendant contacted several other potential students, parents
of students, and former students with the intent to defame and Slander Plaintiff. Plaintiff also
claims that Defendant contacted Thomas Burton, a member of the Utah State Bar, who has filed

numerous lawsuits against Plaintiff.‘ Plaintiff alleges that Defendant asked Mr. Burton to

 

1 Plaintiff’ s Complaint implies that the contact with Thornas Burton was in Utah because
it states only that Mr. Burton is a member of the Utah State Bar. However, Mr. Burton filed an
Affidavit stating that he had only one contact with Defendant prior to the filing of this lawsuit
and that on that occasion he was in California.

 

 

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contact his clients so that he could publish their stories Moreover, Plaintiff alleges that

Houlahan told the South Carolina Department of Social Services, the governmental agency

responsible for licensing Plaintiff’s member school Carolina Springs Academy, that Plaintiff was

not a reputable organization, that six of its schools had been shut down, that the Carolina

Springs’s staff abused children, and that Carolina Springs misled governmental agencies
DISCUSSION

Defendant moves to dismiss this action arguing that this court does not have personal
jurisdiction over him because he has no contacts With Utah. Plaintiff does not claim that there is
general jurisdiction over Defendant in Utah. Rather, it claims that there is specific jurisdiction
over Defendant in this case pursuant to Utah’s Long-Ann Statute because Defendant’s acts
caused injury to Plaintiff in Utah. To overcome a motion to dismiss for lack of personal
jurisdiction, “the plaintiff must make only a prima facie case of personal jurisdiction in order to
defeat the motion.” Firsr Mortgage Corp. v. State Street Bank and Trast Co., 173 F. Supp. 2d
1167, 1170 (D. Utah 2001). In determining whether personal jurisdiction exists in a diversity
action, the law of the forum State is applied Id. at ll7l.

The Utah Suprerne Court has stated that “specific jurisdiction gives a court power over a
defendant only with respect to claims arising out of particular activities of the defendant in the
forum state. For such jurisdiction to exist, the defendant must have certain minimum local
contacts.” Arguello v. Industrial Woodworking Mach. Co., 838 P.Zd 1120, 1122 (Utah 1992).
“‘In Utah, a three-part inquiry is used to determine whether specific personal jurisdiction exists:
(l) the defendant’s acts or contacts must implicate Utah under the Utah long-arm statute; (2) a

‘nexus’ must exist between the plaintiff’ s claims and the defendant’s acts or contacts; and (3)

 

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application of the Utah long-arm statute must satisfy the requirements of federal due process.”’
First Morrgage Corp., 173 F. Supp.Zd at 1173 (quoting Harnischfeger Engineers, Inc. v. Umj‘lo
Conveyor Inc., 883 F.Supp. 608, 612-13 (D.Utah 1995)). The Legislature has declared that the
Long-Arm Statute should be “applied so as to assert jurisdiction to the fullest extent permitted by
the due process clause.” Utah Code Ann. § 78-27-22. Accordingly, the Utah Supreme Court has
stated that it “frequentiy make[s] a due process analysis first because any set of circumstances
that satisfies due process will also satisfy the long-arm statute.” SIIMegaDiamond, Inc. v.
American Superabrasives Corp., 969 P.Zd. 430, 433 (Utah 1988). Thus, the court must first
determine whether the exercise of personal jurisdiction meets federal due process standards

Under due process standards, the court must establish that Defendant has sufficient
minimum contacts with the forum state such that he would anticipate being haled into court in
that state. See Ft`rsr Mortgage Corp., 173 F. Supp. 2d at 1173. “‘Within this inquiry [the cOuI't]
must determine Whether the defendant purposefully directed its activities at residents of the
forum, and whether the plaintiff" s claims arises out of or results from actions by the defendant
himself that create a substantial connection with the forum state.”’ Id. (quoting OMIHoldings,
Inc. v. Royal Ins. Co. ofCanada, 149 F.3d 1086, 1091-92 (lOth Cir. 1998)). For seemingly
tenuous ties to the forum state, courts have looked to the ‘ieffects test” established in Calder v.
Jones, which requires that the defendant’s actions be expressly aimed at the forum jurisdiction
and that the forum jurisdiction be the focal point of the tort and its harm. Far West Capital, Inc.
v. Towne, 46 F.3d 1071, 1080 (lOth Cir. 1995) (citing Calder v. Jones, 465 U.S. 783, 789

(1983)).

Applying the Calder test, the Tenth Circuit has stated that “the mere allegation that an

 

 

 

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out-of-state defendant has tortiously interfered with contractual rights or has committed other
business torts that have allegedly interfered with a forum resident does not necessarily establish
l that the defendant possesses the constitutionally minimum contacts.” Far Wesr Capital, 46 F.3d
at 1079. lnstead, personal jurisdiction turns on “the extent to which the defendant has purposely
availed itself of the forum’s laws.” Id. The “extent” is determined by the circumstances of the
contact with the forum state. Id. at 1080. In addition, the court should consider whether the
defendants actions were expressly aimed at the forum state and whether the forum state was the
focal point of the tort. Id.

Plaintiff’s Complaint alleges no specific contact Defendant had with Utah. The specific
allegations in support of Plaintiff’s claims all took place outside of Utah. The Complaint
Vaguely states, upon information and belief, that Defendant has published defamatory statements
concerning Plaintiffs to Utah residents Howeve'r, in response to Defendant’s motion, Plaintiff
has not established any contact Defendant has had with Utah. Plaintiff only speculates that
because it is based in Utah and Defendant was investigating and researching its organization that
contact must have occurred. Plaintiff asks this court to grant it discovery on the jurisdiction
issue, citing to a case involving subject matter jurisdiction However, as stated above, in order to
defeat a motion to dismiss for lack of personal jurisdiction, Plaintiff must make out a prima facie
ease Of personal jurisdiction First Mortgage Corp. v. State Str'eet Bank and Trust Co., 173 F.
Supp. 2d 1167, 1170 (D. Utah 2001). Plaintiff’s speculation is not enough to allow discovery
and does not establish a prima facie case of the necessary contacts the court must find in order to
exercise jurisdiction over a non-resident defendant

To support a finding of personal jurisdiction, Plaintiff also relies on the fact that it was

 

  

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injured in Utah as a result of Defendant’s allegedly defamatory statements about its member
schools However, unlike Calder in which the defamatory remarks were published in the
jurisdiction, there is no evidence that any of the alleged remarks in this case were published in
Utah. See Calder, 465 U.S. at 789; see also DeBry v. Godbe, 992 P.2d 979 (Utah 1999) (stating
that publication is an element of defamation under Utah law); Keeron v. Hustler Magazz`ne, Inc.
465 U.S. 770, 777 (1984) (finding personal jurisdiction because the tort of libel occurs wherever
the offending material is circulated). Beyond a vague statement that Defendant published
defamatory statements to Utah residents, Plaintiff has failed to provide any evidence that the
statements were in fact published in Utah. See Harnischfege_r, 883 F. Supp. at 613 (noting that
because a letter was never published in Utah, “the letter does not implicate Utah in any way”).
Moreover, none of the specific allegations of Plaintiffs Complaint implicate any of Plaintiff’ s
schools in Utah. Therefore, the court cannot conclude that Defendant’s statements about specific
member schools located outside -of Utah to persons located outside of Utah were expressly aimed
at Utah. Therefore, Plaintiff does not meet the Calder effects test. Calder, 465 U.S. at 789.
Accordingly, this court concludes that the exercise of specific jurisdiction would violate the
federal due process clause and, necessarily, the Utah Long-Arm Statute.
CONCLUSION

Based upon the above reasoning, Defendants’ Motion to Dismiss is GRANTED and this

case is dismissed for lack of jurisdiction

DATED this 6th day of July, 2004.

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DALE A. KIMBAL
United States District Judge

  
  

 
 

    
   
 
   
  
     
   
    
   

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' ' blk
United States District Court
for the
District of Utah

July 7, 2004

* * CERTIFICATE OF SERVICE OF CLERK * *

Re: 2204-cv-00107

True and correct copies of the attached were either mailed, taxed or e-mailed
by the clerk to the following:

Mr. Fred R. Silvesterl Esq.
SILVESTER & CONROY LC

230 S 500 E STE 590

SALT LAKE CITY, UT 84102
EMAIL

Thomas G. Houlahan
4602 43RD ST, NW 1
WASHINGTON, DC 20016

